                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

UNITED STATES OF AMERICA                      )        DOCKET NO. 5:19-cr-21-FDW
                                              )
           V.                                 )
                                              )
REGULO RANGEL-GUTIERREZ                       )        FACTUAL BASIS
_      _
       ____                 _
                            ___ _)
       NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attorney for the Western District of North Carolina, and hereby files this Factual Basis in
support of the Plea Agreement filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Ruic 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the Defendant will
tender pursuant to the Plea Agreement, and that the facts set forth in this Factual Basis are
sufficient to establish all of the elements of the crime(s). The parties agree not to object to or
otherwise contradict the facts set forth in this Factual Basis.

       Upon acceptance of the plea, the United States will submit to the Probation Office a
"Statement of Relevant Conduct" pursuant to Local Criminal Rule 32.4. The Defendant may
submit (but is not required to submit) a response to the Government's "Statement of Relevant
Conduct" within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that
they have the right to object to facts set forth in the presentence report that are not contained in
this Factual Basis. Either party may present to the Court additional relevant facts that do not
contradict facts set forth in this Factual Basis.

       1. From at least as early as in or about 2018 to in or about February 2019, in Iredell
County and Mecklenburg County, within the Western District of North Carolina, and elsewhere,
the Defendant, REGULO RANGEL-GUTIERREZ, did knowingly and intentionally conspire
and agree with other persons, known and unknown to the Grand Jury, to distribute and to possess
with intent to distribute five (5) kilograms of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(l), 841(b)(l)(A), and 846.

      2. On or about January 24, 2019, in Iredell County and Mecklenburg County, within the
Western District of North Carolina, and elsewhere, the Defendant, REGULO RANGEL­
GUTIERREZ, did knowingly and intentionally possess with intent to distribute a mixture and




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substance containing five hundred (500) grams or more of cocaine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Sections 8a1(a)(1) and 841(bXlXB).

       3.    On or about February 10,2019, in Iredell County, within the Western District of
North Carolina, and elsewhere, the Def-endant, REGULO RANGEL-GUTIERREZ, being an
alien. knowingly and unlawfully did and attempted to enter and was found in the United States
withor-rt the express advance consent of the Attomey General or Homeland Security Secretary.
and this occurred after he had been deported and removed from the llnited States and subsequent
to a conviction for the commission of a felony, all in violation of Title 8, United States Code
Sections 1326(a) and (b)(1).



R. ANDREW MURRAY
LINITED STATES ATTORNEY



STEVEN R. KAUFMAN
ASSISTANT LINITED STATE,S ATTORNEY


                   Defendantos Counsel's Signature and Acknolvledgment

       I have read this Factual Basis, the Bill of Information, and the Plea Agreement in this
case. and have discussed them with the Defendant. Based on those discussions, I am satisfied
that the Defendant understands the Factllal Basis, the Bill of Information, and the Plea
Agreement. I hereb.v certify that the Defendant does not dispute this Factual Basis.




                     Attorney for Defendant
                                                                  DArED:   ll"




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